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4
     Attorney for Defendant
5    EILEEN KNIGHT
6                        IN THE UNITED STATES DISTRICT COURT
7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,          )   NO. CR S-12-169 MCE
9                                       )
                      Plaintiff,        )   [PROPOSED] ORDER AND STIPULATION
10                                      )   BY THE PARTIES REQUESTING THAT
          v.                            )   EILEEN KNIGHT BE PLACED ON THE
11                                      )   FOLLOWING CONDITIONS OF PRETRIAL
     EILEEN KNIGHT,                     )   RELEASE
12                                      )
                                        )
13                    Defendant.        )
                                        )
14   _______________________________
15
          Plaintiff, the United States of America, by its counsel, Assistant
16
     United States Attorney Jason Hitt, defendant Eileen Knight, by her
17
     attorney, Christopher Haydn-Myer, hereby jointly request and stipulate
18
     that this Court may sign the Proposed Order, ordering that Ms. Knight
19
     abide by the following conditions of pretrial release.
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          The reason for the request is that on December 5, 2012, Ms. Knight
21
     completed The Effort's 90 day residential substance abuse treatment
22
     program and was permitted to return to her residence in Los Angeles
23
     under the previously imposed conditions of release. However, the
24
     parties agree that the record needs to be clarified as to what was
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     added and removed at the violation hearing.
26
          U.S. Pretrial Office Steven J. Sheehan is recommending, and the
27
     parties are in agreement, that the Court Order that Ms. Knight abide by
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1    the following conditions of pretrial release:
2
          1. You shall report to and comply with the rules and regulations
3         of the Pretrial Services Agency;
4         2. You shall report in person to the Pretrial Services Agency on
          the first working day following your release from custody;
5
          3. You are to reside at a location approved by the pretrial
6         services officer and not move or absent yourself from this
          residence for more than 24 hours without the prior approval of the
7         pretrial services officer;
8         4. You shall cooperate in the collection of a DNA sample;
9         5. Your travel is restricted to the Eastern, Northern, and Central
          Districts of California without the prior consent of the pretrial
10        services officer;
11        6. You shall not possess a firearm/ammunition, destructive device,
          or other dangerous weapon; additionally, you shall provide written
12        proof of divestment of all firearms/ammunition currently under
          your control;
13
          7. You shall refrain from any use of alcohol or any use of a
14        narcotic drug or other controlled substance without a prescription
          by a licensed medical practitioner; and you shall notify Pretrial
15        Services immediately of any prescribed medication(s). However,
          medicinal marijuana, prescribed or not, may not be used;
16
          8. You shall submit to drug and/or alcohol testing as approved by
17        the pretrial services officer. You shall pay all or part of the
          costs of the testing services based upon your ability to pay, as
18        determined by the pretrial services officer;
19        9. You shall surrender your passport to the Clerk, U. S. District
          Court, and obtain no passport during the pendency of this case;
20
          10. You shall report any contact with law enforcement to your
21        pretrial services officer within 24 hours;
22        11. You shall participate in the following home confinement
          program components and abide by all the requirements of the
23        program, which will include electronic monitoring or other
          location verification system:
24
          HOME DETENTION: You are restricted to your residence at all times
25        except for employment; education; religious services; medical,
          substance abuse, or mental health treatment; attorney visits;
26        court appearances; court-ordered obligations; or other activities
          pre-approved by the pretrial services officer.
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28                                          2
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1          You shall, in accordance with this release order, have a home
           monitoring unit installed in your residence, a radio frequency
2          transmitter device attached to your person, and shall comply with
           all instructions for the use and operation of said devices as
3          given to you by the Pretrial Services Agency and employees of the
           monitoring company. You shall pay all or part of the costs of the
4          program based upon your ability to pay, as determined by the
           pretrial services officer;
5
           12. You shall participate in a program of medical or psychiatric
6          treatment, including treatment for drug or alcohol dependency, as
           approved by the pretrial services officer. You shall pay all or
7          part of the costs of the counseling services based upon your
           ability to pay, as determined by the pretrial services officer;
8          and,
9          13. You shall not associate or have any contact with any co-
           defendants unless in the presence of counsel or otherwise approved
10         in advance by the pretrial services officer.
11
12                                                           BENJAMIN B. WAGNER
                                                             UNITED STATES ATTORNEY
13
     Dated: January 23, 2013                                 Respectfully submitted,
14                                                           /s/ Jason Hitt
                                                             CHRISTOPHER HAYDN-MYER for
15                                                           Assistant United States
                                                             Attorney Jason Hitt
16
17   Dated: January 23, 2013                                 Respectfully submitted,
                                                             /s/ Christopher Haydn-Myer
18                                                           CHRISTOPHER HAYDN-MYER
                                                             Attorney for Eileen Knight
19
                                                 ORDER
20
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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     DATED: January 23, 2013.
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     knight0169.stipord.reinstate.rel.cond.wpd
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